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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

    JOHN RINEHART,
                                                                Civil Action No.: 1:21-cv-797-WJM
                           Plaintiff,

                   -against-
                                                                FIRST AMENDED COMPLAINT
    NATHAN SCHNEIDER, individually and in his
    capacity as a member of Colorado Solidarity Fund
    LLC,
    COLORADO SOLIDARITY FUND LLC, a Colorado
    limited liability company, and
    JESSICA GORDAN NEMBHARD, an individual

                           Defendants.


          Plaintiff John Rinehart (“Mr. Rinehart”), through his undersigned attorneys, as and for

   his First Amended Complaint against Defendant Nathan Schneider (“Defendant Schneider”),

   Defendant Colorado Solidarity Fund LLC (“Defendant CSF”) and Defendant Jessica Gordan

   Nembhard (“Defendant Nembhard”) (collectively “Defendants”), alleges as follows:

                                INTRODUCTION AND SUMMARY

          1.      This action seeks to remedy Defendants’ wrongful scheme in July 2020 to force

   Mr. Rinehart’s removal from the successful startup that he had recently co-founded (“MSPWC”

   as detailed infra). Defendants’ conduct consisted of several calculated actions, including, at the

   plan’s core, reemerging and releasing a defamatory letter concerning Mr. Rinehart to the co-

   founder of MSPWC, nonparty Jason Weiner.

          2.      Defendant Nembhard, a somewhat-notorious participant in the co-op industry,

   created and successfully used the defamatory letter in 2015 to force Mr. Rinehart out of his then-

   current positions in the co-op industry, to her advantage, and she has done so now again – this



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   time conspiring with Defendant Schneider, a member of Defendant CSF, who at the time was in

   talks to invest in and partner with MSPWC.

          3.       After priming Mr. Weiner with the false accusations in the defamatory letter,

   Defendants then set up individual meetings with Mr. Weiner to further their plan to oust Mr.

   Rinehart. First, Defendant Schneider met with Mr. Weiner to discuss any potential partnership

   between Defendant CSF and MSPWC in light of the “unfortunate situation” (which of course

   was entirely created by Defendants themselves). Then, to deliver the final blow, Defendant

   Nembhard, feigning reluctance, finally meets with Mr. Weiner to further discuss (and defame)

   Mr. Rinehart and, upon information and belief, threatens to “go public” with the defamatory

   letter should Mr. Rinehart not be removed from MSPWC.

          4.       Less than a month later, Mr. Rinehart was no longer associated with MSPWC.

   Forced out by Mr. Weiner, who feared for his and MSPWC’s reputation and business if they

   disobeyed Defendants.

          5.       This time, Mr. Rinehart is fighting back. Mr. Rinehart now brings this action for

   money damages and corrective and injunctive relief ordering Defendants to cease publication of

   the defamatory letter and to retract and remediate any previous communications and

   publications.

                                               PARTIES

          6.       Mr. Rinehart is an individual residing in New York.

          7.       Defendant Schneider is an individual residing in Boulder, CO.

          8.       Defendant CSF is a limited liability company organized under the laws of the

   State of Colorado with a principal place of business in Denver, CO.




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          9.       Defendant Nembhard is an individual residing, upon information and belief, in

   Washington, DC.

                                    JURISDICTION AND VENUE

          10.      This Court has original subject matter jurisdiction pursuant to 28 U.S. Code

   § 1332(a)(1).

          11.      This Court also has original subject matter jurisdiction pursuant to 28 U.S.C. §§

   1331, since Plaintiff brings a claim under 15 U.S.C. § 1125(a), and pendent jurisdiction over the

   related state law claims asserted pursuant to 28 U.S.C. § 1367 because they involve the same

   parties, they arise from the same operative facts common to the causes of action arising under the

   federal claim, and because the exercise of pendent jurisdiction serves the interests of judicial

   economy, convenience and fairness to the parties.

          12.      This Court has personal jurisdiction over Defendant Schneider since Defendant

   Schneider resides and transacts business in Colorado.

          13.      This Court has personal jurisdiction over Defendant CSF since Defendant CSF

   resides and transacts business in Colorado.

          14.      This Court has personal jurisdiction over Defendant Nembhard since Defendant

   Nembhard transacts business in Colorado and committed a tortious act within Colorado.

          15.      Venue is proper in this judicial district under 28 U.S.C. § 1391 (1) or (2) and in

   the alternative under 28 U.S.C. § 1391(b)(3).

                               FACTS RELEVANT TO ALL CLAIMS

   Background of Mr. Rinehart and the Co-op Industry

          16.      Mr. Rinehart, a successful entrepreneur and an MBA graduate, has worked in the

   worker cooperative industry for the last decade, working and partnering with various public



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   agencies and nonprofit organizations all over the country with the aim of advocating for and

   providing business development support to firms structured as worker cooperatives and other

   employee-owned business structures (the “co-op industry”).

          17.     In one such roll, in 2014 and 2015, as a co-coordinator for the NYC Worker

   Cooperative Coalition (“NYCWCC”), Mr. Rinehart oversaw the production of deliverables to

   the New York City Council from a group of nearly a dozen non-profit organizations in the co-op

   industry who had received City Council funding in 2014 for fiscal year 2015.

          18.     At this time, the NYCWCC was also in the process of applying for renewal

   funding, a process also co-led by Mr. Rinehart.

          19.     The production of deliverables to the New York City Council, required from the

   funding, fell substantially behind schedule in 2014, due to certain organizations’

   underperformance, including that of Green Worker Cooperatives, whose board treasurer,

   Defendant Nembhard, also served as a member of the Grassroots Economic Organizing

   collective (“GEO”), an unincorporated collective based in New York, New York.

          20.     Mr. Rinehart, also in 2014, co-chaired the board of the Eastern Conference for

   Workplace Democracy (“ECWD”), which oversees a bi-annual worker co-op industry

   conference.

          21.     In order to expand the available offerings to worker-owned cooperative members,

   the ECWD board decided that GEO would no longer be the sole provider of content for the pre-

   conference for its 2015 conference, as had been the practice in previous years.

          22.     Following this decision, GEO became extremely uncooperative and was

   ultimately removed altogether as a provider of content for the pre-conference. (GEO had also




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   been removed as a provider for the 2014 national worker cooperative conference, which was

   organized by a different organization, a decision that did not involve Mr. Rinehart.)

   Defendant Nembhard Creates the Defamatory Letter in 2015

          23.     Not long after the decision regarding GEO as described above, and during the

   contentious process of preparing the NYCWCC’s application for government funding renewal,

   in early 2015 an anonymous letter was authored attacking and defaming Mr. Rinehart both

   personally and professionally (the “Defamatory Letter”).

          24.     Upon information and belief, the Defamatory Letter was created by Defendant

   Nembhard.

          25.     Upon information and belief, Defendant Nembhard composed the Defamatory

   Letter in retaliation for what she considered Mr. Rinehart’s role in GEO being removed from

   providing the 2015 conference content, and in an attempt to preserve the status quo government

   funding allocations, which she believed was under threat due to Mr. Rinehart’s scrutinization of

   performance.

          26.     In reality, the decision by ECWD to remove GEO as the sole content provider

   was made by the board, and the decision to remove them as a provider came after ECWD staff

   made significant efforts to work collaboratively with GEO, to no avail.

          27.      Furthermore, the allocation of government funding was only under threat due to

   underperformance toward deliverables, which Mr. Rinehart oversaw.

          28.     The Defamatory Letter is a juxtaposition of two blocks of text that are contained

   in a single email thread composition. The first block of text is a first-person statement detailing a

   single author’s “part” in “putting together a ‘Fair Witness’ Report” concerning Mr. Rinehart’s

   “behavior in the worker co-op movement.” It states that an investigation was conducted,



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   including “discussions with about 20 people,” and that a “confidential report” was created. The

   statement says that the findings of the report include that Mr. Rinehart engaged in:

              sexual misconduct and sexual hostility; bullying; professional misconduct,

              autocratic behavior and sabotage; inappropriate sharing of internal co-op

              affairs; mean-spirited gossiping; insensitive and racially disrespectful

              comments to and about low-income people of color and/or their

              organizations, particularly in cooperative spaces in Southern Appalachia

              and New York City; and deliberately blocking continued cooperation

              between long term worker co-op partner organizations in the Northeast.

           29.     The Defamatory Letter does not, however, reveal any actual details of the

   investigation, nor does it disclose the “confidential report” itself.

           30.     Upon information and belief, no investigation occurred and no confidential report

   was created.

           31.     Upon information and belief, these were simply lies that the author (Defendant

   Nembhard) told to facilitate her defaming of Mr. Rinehart, who she had a vendetta against for the

   reasons alluded to herein.

           32.     One of the actual motivations behind the Defamatory Letter can be gleaned from

   the concluding remarks of the first portion of the statement, which states:

           In addition, one of the organizations this author is affiliated with, had a very

           disappointing experience trying to work with him in between 2013-2015 and none of

           them claim they are willing to work with him again or work on a project that they know

           includes him.




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          33.         Upon information and belief, the “organization” referenced above is GEO and the

   “disappointing experience” is GEO’s removal from providing conference content in 2015 (which

   in reality was due to GEO’s poor performance as a project partner).

          34.         The second block of text of the Defamatory Letter is copy and pasted from a

   statement put out years earlier by a group known as the “Ashville Accountability Krewe,” and it

   details the group’s interactions with Mr. Rinehart’s concerning an alleged incident in 2011.

                35.      While, upon information and belief, the statement from the Ashville

   Accountability Krewe was not part of any “investigation” or “confidential report” that the

   Defamatory Letter relies on, Defendant Nembhard included it to further deceive readers into

   thinking her statements were true.

          36.         The Defamatory Letter itself, as a juxtaposition of the two bodies of text is

   defamatory and misleading in its entirety.

          37.         Furthermore, there are specific statements and language that are falsifiable and

   defamatory, including specifically stating that Mr. Rinehart engaged in:

             i.       “sexual misconduct and sexual hostility”

            ii.       “professional misconduct, autocratic behavior and sabotage”

           iii.       “inappropriate sharing of internal co-op affairs”

           iv.        “insensitive and racially disrespectful comments to and about low-income people

                      of color and/or their organizations, particularly in cooperative spaces in Southern

                      Appalachia and New York City”

            v.        “deliberately blocking continued cooperation between long term worker co-op

                      partner organizations in the Northeast.”

          38.         All of the above statements are false and/or misleading.



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             39.    The personal accusations are untrue, and the professional misconduct accusations

   could not be any further from the truth, as evidenced by Mr. Rinehart’s continued work,

   dedication, and contributions in the co-op industry over the last decade.

             40.    In 2015, the Defamatory Letter was emailed around to various people and

   organizations in the co-op industry, eventually forcing Mr. Rinehart out of his then-current

   positions.1

   Mr. Rinehart Co-founds Main Street Phoenix Worker Cooperative

             41.    After continuing to work in various roles in the co-op industry after the

   unfortunate and malicious attacks on him in 2015, and after going back to graduate school to

   earn his MBA in Sustainable Business, Mr. Rinehart co-founded the Main Street Phoenix

   Worker Cooperative (“MSPWC”) in March 2020.

             42.    MSPWC is a social enterprise, born out of the COVID pandemic, that seeks to

   assist restaurant employees in buying out their respective restaurants that were forced to close

   due to COVID, helping both the restaurants’ former owners and its employees alike. MSPWC is

   based in Colorado and was created to focus on restaurants and employees in New York City and

   Colorado.

             43.    MSPWC was co-founded by Mr. Rinehart and non-party Jason Weiner (“Mr.

   Weiner”), an individual and lawyer whose law firm helped MSPWC do its initial investment

   raising and incorporation work.




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       This removal indeed prevented Mr. Rinehart from influencing further NYCWCC decisions on funding
   allocations, allowing the underperforming organizations, who share common leadership personnel with
   GEO, including Defendant Nembhard, to garner more than $1M in funding from New York City Council
   allocations since Mr. Rinehart’s dismissal.

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          44.     Mr. Rinehart continued working on MSPWC throughout the pandemic, managing

   all aspects of MSPWC’s work, and leading and overseeing MSPWC’s operations, including

   fundraising, investment efforts, as well as on the ground operations.

          45.     In large part due to Mr. Rinehart’s persistent efforts, his credibility in the co-op

   industry, and his extensive professional networks, the idea and execution of MSPWC were well

   received within the co-op industry.

          46.     Indeed, MSWPC had garnered over $70,000 in grant money in the first month of

   its formation, signed on a number of co-op and restaurant industry advisors, and had gotten

   significant mentions in the media, including in an article in the New York Times.

   Defendants Reemerge and Release the Defamatory Letter;
   Mr. Rinehart is Forced Out of MSPWC

          47.     As part of his persistent efforts to grow and build MSPWC, Mr. Rinehart

   presented a “pitch” presentation to Defendant CSF in Colorado in May 2020. The pitch was an

   attempt to persuade Defendant CSF, an investment fund focused on social enterprises, to invest

   in and partner with MSPWC.

          48.     Upon information and belief, the widespread recognition that MSPWC and Mr.

   Rinehart began receiving, along with the pitch presentation that Mr. Rinehart gave to Defendant

   CSF, were the triggers for Defendant Nembhard to again use her popularity and her creation of

   the Defamatory Letter to seek Mr. Rinehart’s removal from his position and the industry.

          49.     And that she did, this time by utilizing Defendant Schneider and his membership

   interest in Defendant CSF, as well as, upon information and belief, other members of CSF,

   to facilitate her scheme.

          50.     First, upon information and belief, Defendant Nembhard reached out to Defendant

   Schneider, sent him the defamatory letter, explainer her vendetta against Mr. Rinehart and

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   persuaded Mr. Schneider that it would be to her and his benefit if Mr. Rinehart were removed

   from MSPWC.

          51.     Second, Defendant Schneider forwarded the Defamatory Letter to Mr. Weiner,

   and included additional comments from Defendant Nembhard to tell Mr. Weiner. Defendant

   Schneider then facilitated a meeting with Mr. Weiner and, upon information and belief, at

   least one other Defendant CSF member, to further discuss the situation; namely, the status of

   any potential partnership between Defendant CSF and MSPWC in light of the

   “unfortunate situation” (which of course was entirely created by Defendants themselves).

          52.     Upon information and belief, Mr. Schneider was acting in his capacity as a

   member of Defendant CSF (which is a member-managed LLC) when he met with Defendant

   Schneider to discuss the “CSF <> Phoenix update,” which was the subject line of the emails

   between Defendant Schneider and Mr. Weiner to set the meeting (Phoenix referring to

   MSPWC.)

          53.     Upon information and belief, nonparty and individual Matt Noyes also

   participated in this meeting with Defendant Schneider and Mr. Weiner. Mr. Noyes’s significance

   and role has not yet been discovered, but he is believed to be a member of both Defendant CSF

   and GEO.

          54.     Third, Defendant Schneider connected and introduced Defendant Nembhard to

   Mr. Weiner through email and insisted the two of them set a meeting, even though Defendant

   Nembhard was very busy, to further discuss Mr. Rinehart and his role at MSPWC.

          55.     Fourth, Defendant Nembhard did then meet with Mr. Weiner, and, upon

   information and belief, further defamed Mr. Rinehart and threatened to “go public” with the

   Defamatory Letter should Mr. Rinehart not be removed from MSPWC.



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             56.   Fifth, upon information and belief, Defendant Schneider and Defendant

   Nembhard then also released portions of the Defamatory Letter to others in the co-op industry.

             57.   At least one prospective business partner of Mr. Rinehart, Dazzle Limited

   Cooperative Association, who Mr. Rinehart had been in talks with about contracting together,

   also informed Mr. Rinehart that Defendant Schneider contacted them regarding the Defamatory

   Letter.

             58.   Due to the above, Mr. Wiener insisted that Mr. Rinehart leave MSPWC, and

   informed Mr. Rinehart that he would not be receiving the paid position that was promised under

   his contract with MSPWC.

                                     FIRST CLAIM FOR RELIEF
                                     Violation of 15 U.S.C. § 1125(a)

             59.   Mr. Rinehart repeats, realleges, and incorporates the preceding paragraphs herein

   as if fully stated under this claim.

             60.   Defendant Schneider, a member of Defendant CSF, actively works in the co-op

   industry, performing various project management and contract work for different organizations,

   similar to Mr. Rinehart.

             61.   Defendant Schneider and Mr. Rinehart compete for the same resources, clients,

   and work, including contract management work and paid authorships and articles focusing on the

   co-op industry.

             62.   Defendant Nembhard is a contributor, officer, and member of various

   organizations in the co-industry, including GEO, the Green Worker Cooperatives, and the

   Ecological Democracy Institute of America.




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            63.    Defendant Nembhard and her organizations compete with Mr. Rinehart and

   MSPWC for resources, funding, and clients in the co-op industry, which is a small and somewhat

   insular community and industry.

            64.    The Defamatory Letter authored by Defendant Nembhard and publicized by all

   Defendants contains multiple misleading and false descriptions of fact and misrepresentations

   regarding Mr. Rinehart and his services in the co-op industry, including those statements as

   detailed in paragraph 37 herein.

            65.    Defendants communicated and publicized the Defamatory Letter to multiple

   people and organizations in the co-op industry.

            66.    The above publicization misrepresented Mr. Rinehart and the nature of his

   services in the co-op industry.

            67.    Mr. Rinehart has been forced out of his position with MSPWC and has been

   unable to procure work or funding in the co-op industry, to the benefit and profit of Defendants,

   all of whom compete with Mr. Rinehart for work, clients, resources, and funding within the co-

   op industry.

            68.    The resources, fundraising dollars, and partnerships in the co-op industry that Mr.

   Rinehart and MSPWC were in the process of securing can now be secured by Defendants.

            69.    Mr. Rinehart has been damaged both monetarily and reputationally due to the

   above.

                                     SECOND CLAIM FOR RELIEF
                                          Defamation Per Se

            70.    Mr. Rinehart repeats, realleges, and incorporates the preceding paragraphs herein

   as if fully stated under this claim.



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              71.     All Defendants published and communicated the Defamatory Letter to third

   parties.

              72.     The Defamatory Letter contains multiple defamatory statements that damage Mr.

   Rinehart professionally, in his business, trade, and profession, including that Mr. Rinehart

   engaged in:

                 i.   “sexual misconduct and sexual hostility”

               ii.    “professional misconduct, autocratic behavior and sabotage”

               iii.   “inappropriate sharing of internal co-op affairs”

               iv.    “insensitive and racially disrespectful comments to and about low-income people

                      of color and/or their organizations, particularly in cooperative spaces in Southern

                      Appalachia and New York City”

                v.    “deliberately blocking continued cooperation between long term worker co-op

                      partner organizations in the Northeast.”

              73.     The above statements are either literally false and/or are not pure opinions since

   they do not specify facts on which they may rely.

              74.     In particular, the Defamatory Letter states that it relies on an investigation and

   confidential report for its findings, yet the Defamatory Letter does not provide any details or

   facts surrounding the investigation or confidential report.

              75.     Upon information and belief, there never was an investigation or a confidential

   report.

              76.     The above statements were made with reckless disregard for their truth or falsity

   or with knowledge of their falsity and with wanton and willful disregard of the reputation and

   rights of Mr. Rinehart.



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            77.    The statements were made of and concerning Mr. Rinehart and were so

   understood by those who read Defendants’ publication of them.

            78.    Defendants had no privilege to assert the false and disparaging statements.

            79.    Due to the above, Mr. Rinehart has been directly damaged in his profession and

   trade.

                                     THIRD CLAIM FOR RELIEF
                                          Civil Conspiracy

            80.    Mr. Rinehart repeats, realleges, and incorporates the preceding paragraphs herein

   as if fully stated under this claim.

            81.    In July 2020, Defendants conspired and agreed on a scheme to effect the removal

   of Mr. Rinehart from MSPWC.

            82.    Defendants took multiple affirmative actions to accomplish their scheme,

   including by initiating several communications and meetings with Mr. Weiner, defaming Mr.

   Rinehart, and providing the Defamatory Letter to Mr. Weiner.

            83.    Upon information and belief, Defendant Nembhard further threatened Mr. Weiner

   with bad publicity and to “go public” with the Defamatory Letter should Mr. Rinehart not be

   removed from MSPWC.

            84.    Due to the above wrongful and unlawful conduct, Mr. Rinehart was removed

   from MSPWC and suffered other losses as well, including forfeiting his right to the first full time

   paid position with MSPWC, and damaging Mr. Rinehart’s credibility and chances of further

   employment within the co-op industry.

            85.    The above wrongful and unlawful conduct by Defendants caused Mr. Rinehart’s

   injuries directly, as Mr. Weiner cited the Defendants’ communications as the reason for Mr.

   Rinehart’s removal. Furthermore, other prospective business partners of Mr. Rinehart also

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   specifically noted Defendant Schneider’s communications regarding the Defamatory Letter as

   the reason they were hesitant to work with Mr. Rinehart.


                                       FOURTH CLAIM FOR RELIEF
                                      Tortious Interference with Contract

           86.     Mr. Rinehart repeats, realleges, and incorporates the preceding paragraphs herein

   as if fully stated under this claim.

           87.     Mr. Rinehart had a valid contract to provide services for MSPWC, which contract

   included a provision entitling Mr. Rinehart to the first full-time paid position that MSPWC could

   offer once it received sufficient funding.

           88.     Defendants were fully aware of Mr. Rinehart’s role and position with MSPWC, as

   this had been highlighted in several publications and in the pitch presentation presented by Mr.

   Rinehart to Defendant CSF, which, upon information and belief, Defendants had viewed.

           89.     Defendants wrongful scheme as detailed herein was perpetuated in order to

   intentionally procure the breach of this contract and have Mr. Rinehart removed from MSPWC.

           90.     MSPWC did breach its contract with Mr. Rinehart, as Mr. Rinehart was

   terminated from his position with MSPWC, and Mr. Rinehart was not first considered for a full-

   time, paid position which did become available at MSPWC.

           91.     Mr. Weiner and MSPWC specifically noted Defendants’ communications of the

   Defamatory Letter as their reason for terminating the relationship with Mr. Rinehart and not

   providing him the position he was contractually entitled to.

           92.     Due to the above, Mr. Rinehart has been damaged, inter alia, monetarily by not

   receiving the position and its accompanying salary.




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                                    FIFTH CLAIM FOR RELIEF
           Tortious Interference with Prospective Business Advantage / Economic Relations


           93.      Mr. Rinehart repeats, realleges, and incorporates the preceding paragraphs herein

   as if fully stated under this claim.

           94.      Defendants were fully aware of Mr. Rinehart’s role and position with MSPWC, as

   this had been highlighted in several publications and in the pitch presentation presented by Mr.

   Rinehart to Defendant CSF, which, upon information and belief, Defendants had viewed.

           95.      Defendants wrongful scheme as detailed herein was perpetuated in order to

   intentionally cause Mr. Weiner and MSPWC to stop doing business with Mr. Rinehart and

   remove him from the Company.

           96.      Defendants’ scheme worked, and it did cause Mr. Weiner and MSPWC to cease

   doing business with Mr. Rinehart; Mr. Rinehart was forced to leave the company, and he did not

   receive the first fulltime paid position, which he was promised and which he was in line, and

   which did subsequently become available.

           97.      Mr. Weiner and MSPWC specifically noted the Defamatory Letter and

   Defendants’ communications as the reason for terminating the relationship with Mr. Rinehart

   and not providing him the fulltime paid position.

                                          PRAYER FOR RELIEF

           WHEREFORE, by reason of the acts and circumstances alleged herein, Mr. Rinehart

   seeks relief from this Court as follows:

                 a. Judgment on each of the claims set forth above;

                 b. An award of compensatory damages according to proof at trial, but in an amount

                    no less than $500,000.00, as well as punitive and exemplary damages where


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                authorized, including from the Lanham Act and common law, due to Defendants’

                willful and wanton behavior;

            c. An order enjoining Defendants and those in active concert with Defendants from

                further communicating or publicizing the Defamatory Letter;

            d. An order directing Defendants to delete and destroy the Defamatory Letter and

                issue a retraction of the Defamatory Letter to any individuals or entities that

                Defendants released or communicated about the Defamatory Letter to;

            e. Prejudgment and post-judgment interest at the applicable rate; and

            f. Such other and further relief the Court deems proper and just.


                                DEMAND FOR TRIAL BY JURY

         Please take notice that Mr. Rinehart hereby demands trial by jury for all issues so triable

   Dated: Brooklyn, New York
          June 8, 2021
                                               Respectfully Submitted:

                                               LEWIS & LIN, LLC


                                               ________________________
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